        Case 3:10-cv-00967-SRU Document 173 Filed 06/15/12 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


POPTECH, L.P., individually, and on behalf of a
                                       )                   CIVIL ACTION NO.:
class of others similarly situated,    )                   3:10-cv-00967 (MRK)
                                       )
                                       )
             Plaintiff,                )
                                       )
       v.                              )
                                       )
STEWARDSHIP CREDIT ARBITRAGE FUND, )
LLC; STEWARDSHIP INVESTMENT            )
ADVISORS, LLC; ACORN CAPITAL GROUP, )
LLC; MARLON QUAN; GUSTAVE ESCHER,      )
III; PAUL SEIDENWAR; and ROBERT BUCCI, )
                                       )
             Defendants.               )                   JUNE 15, 2012


       NOTICE OF ORDER APPOINTING RECEIVER FOR STEWARDSHIP
     CREDIT ARBITRAGE FUND, LLC AND ISSUING ANTI-SUIT INJUNCTION

       Defendant Stewardship Credit Arbitrage Fund, LLC (“SCAF”) hereby gives notice that

on April 30, 2012, in the matter of U.S. Securities and Exchange Commission v. Quan, et al., No.

0:11-CV-723 ADM/JSM, pending in the United States District Court for the District of

Minnesota, the Court (Hon. Ann D. Montgomery) entered an order, a copy of which is attached

as Exhibit A, granting motions by the United States Securities and Exchange Commission for the

appointment of a receiver for SCAF and for an order enjoining litigation against SCAF. That

order stays this action as to SCAF. See, Northlight Fund, LP v. Stewardship Credit Arbitrage

Fund, LLC, No. 11 CV 7840 (S.D.N.Y., May 23, 2012) (District of Minnesota’s receivership

order, which stays “any action to collect any debt allegedly owed by” SCAF, requires stay of
             Case 3:10-cv-00967-SRU Document 173 Filed 06/15/12 Page 2 of 3




litigation as to SCAF) (copy attached as Exhibit B).1 Counsel for the plaintiffs has informed the

undersigned that the plaintiffs agree that this action is stayed as to SCAF.

                                                                THE DEFENDANT,
                                                                STEWARDSHIP CREDIT
                                                                ARBITRAGE FUND, LLC

                                                                By: /s/ Frank J. Silvestri, Jr.
                                                                Frank J. Silvestri, Jr.
                                                                Federal Bar No. ct05367
                                                                LEVETT ROCKWOOD P.C.
                                                                33 Riverside Avenue
                                                                P.O. Box 5116
                                                                Westport, Connecticut 06881
                                                                Telephone: (203) 222-0885
                                                                Facsimile: (203) 226-8025
                                                                Email: fsilvestri@levettrockwood.com




1
    The language quoted by the Court in Northlight appears on page 20 of the receivership order.
         Case 3:10-cv-00967-SRU Document 173 Filed 06/15/12 Page 3 of 3




                                       CERTIFICATION

       I hereby certify that on June 15, 2012, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.


                                                     /s/ Frank J. Silvestri, Jr.
                                                     Frank J. Silvestri, Jr.
                                                     Federal Bar No. ct05367
